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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

BRITTANEY BAILEY,                                      §
on behalf of herself and all others                    §
similarly situated,                                    §
                                                       §
                     Plaintiff,                        §
                                                       §
        vs.                                            §        CIVIL ACTION NO: 2:17-cv-77
                                                       §
HOWBRO INVESTMENTS, LTD                                §
D/B/A BUFFALO WILD WINGS;                              §
BWWGP, INC.; KENDALL HOWARD;                           §
LUBBOCK BWW MGMT, LLC;                                 §
WOLFFORTH WINGS, LTD D/B/A                             §
BUFFALO WILD WINGS; HOW NO. 1,                         §
INC.; LUBBOCK WILD WINGS, LTD                          §
D/B/A BUFFALO WILD WINGS;                              §
MIDLAND WINGS, LTD D/B/A BUFFALO                       §
WILD WINGS; PERMIAN BWW                                §
MGMT, LLC; ODESSA WINGS,                               §
LTD D/B/A BUFFALO WILD WINGS;                          §
AMARILLO WILD WINGS, LTD D/B/A                         §
BUFFALO WILD WINGS; AMARILLO                           §
BWW MANAGEMENT, LLC; and EAST                          §
AMARILLO WINGS, LTD; D/B/A                             §
BUFFALO WILD WINGS;                                    §
                                                       §
                                                       §
                     Defendants.                       §


                            PLAINTIFF’S FEDERAL RULE OF CIVIL
                             PROCEDURE 26(a)(3) DISCLOSURES

        COMES NOW Plaintiff, Brittaney Bailey, individually and on behalf all opt-in plaintiffs, and in

accordance with Federal Rule of Civil Procedure 26(a)(3), provides the following disclosures:




PLAINTIFF’S FEDERAL RULE OF CIVIL PROCEDURE 26(a)(3) DISCLOSURES                                          1
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                                           WITNESS LIST

 PERSONS WITH                ADDRESS AND               SUBJECT OF              EXPECT TO    MAY
   KNOWLEDGE                   TELEPHONE             INFORMATION                PRESENT     CALL
Brittaney Bailey       c/o Jeremi Young          Plaintiff                         X
                       1001 S. Harrison
                       Suite 200
                       Amarillo, Texas 79101
                       (806) 331-1800
Martha Aguirre         c/o Jeremi Young          Opt-In Plaintiff                  X
                       1001 S. Harrison
                       Suite 200
                       Amarillo, Texas 79101
                       (806) 331-1800
Chrissy Branscum       c/o Jeremi Young          Opt-In Plaintiff                  X
                       1001 S. Harrison
                       Suite 200
                       Amarillo, Texas 79101
                       (806) 331-1800
Toni Burkholder        c/o Jeremi Young          Opt-In Plaintiff                  X
                       1001 S. Harrison
                       Suite 200
                       Amarillo, Texas 79101
                       (806) 331-1800
Elizar Caldera         c/o Jeremi Young          Opt-In Plaintiff                  X
                       1001 S. Harrison
                       Suite 200
                       Amarillo, Texas 79101
                       (806) 331-1800
Kaycie Darnell         c/o Jeremi Young          Opt-In Plaintiff                  X
                       1001 S. Harrison
                       Suite 200
                       Amarillo, Texas 79101
                       (806) 331-1800
Veronica Fuentes       c/o Jeremi Young          Opt-In Plaintiff                  X
                       1001 S. Harrison
                       Suite 200
                       Amarillo, Texas 79101
                       (806) 331-1800
Mandy Gage             c/o Jeremi Young          Opt-In Plaintiff                  X
                       1001 S. Harrison
                       Suite 200
                       Amarillo, Texas 79101
                       (806) 331-1800
Christopher Gallegos   c/o Jeremi Young          Opt-In Plaintiff                  X
                       1001 S. Harrison
                       Suite 200
                       Amarillo, Texas 79101
                       (806) 331-1800
Allison Greninger      c/o Jeremi Young          Opt-In Plaintiff                  X
                       1001 S. Harrison
                       Suite 200
                       Amarillo, Texas 79101
                       (806) 331-1800
Jeremi K. Young        c/o Jeremi Young          Counsel for Plaintiff             X

PLAINTIFF’S FEDERAL RULE OF CIVIL PROCEDURE 26(a)(3) DISCLOSURES                                   2
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                           1001 S. Harrison
                           Suite 200
                           Amarillo, Texas 79101
                           (806) 331-1800
Misty Meeker               c/o Robert Nebb                 Executive Vice President            X
                           Law Office of Michael           of Defendants
                           Carper
                           1102 Main Street
                           Lubbock, TX 79401
                           (806) 747-3016
Kendall Howard             c/o Robert Nebb                 Franchise Owner                                    X
                           Law Office of Michael
                           Carper
                           1102 Main Street
                           Lubbock, TX 79401
                           (806) 747-3016
Robert Nebb                Robert Nebb                     Counsel for Defendants              X
                           Law Office of Michael
                           Carper
                           1102 Main Street
                           Lubbock, TX 79401
                           (806) 747-3016



           In addition to the above, Plaintiff may call any of the other current opt-in plaintiffs in this action.

                                                 EXHIBIT LIST



Ex.                        Document Description                           Bates Number         Expect to      May
No.                                                                                              Offer        Offer
      1.  Amarillo Wild Wings, Ltd Overtime Due on Tipped                                      X
          Employees May 1, 2015 through June 25, 2017
      2. Amarillo Wild Wings, Ltd. Payroll Summary May                                         X
          25, 2015 through May 25, 2017
      3. Amarillo Wild Wings, Ltd. Transactions by Account                                     X
          as of June 25, 2017
      4. Amarillo Wild Wings, Ltd. Wage Hour Repayment                                         X
          Reconciliation May 1, 2015 through June 25, 2017
      5. East Amarillo Wings, Ltd Overtime Due on Tipped                                       X
          Employees May 1, 2015 through June 25, 2017
      6. East Amarillo Wings, Ltd. Payroll Summary May                                         X
          25, 2015 through May 10, 2017
      7. East Amarillo Wings, Ltd. Transactions by Account                                     X
          as of June 25, 2017
      8. East Amarillo Wings, Ltd. Wage Hour Repayment                                         X
          Reconciliation May 1, 2015 through June 25, 2017
      9. Howbro Investments, Ltd. Overtime Due on Tipped                                       X
          Employees May 1, 2015 through June 10, 2017
      10. Howbro Buffalo Wild Wings Payroll Summary May                                        X
          25, 2015 through June 20, 2017

PLAINTIFF’S FEDERAL RULE OF CIVIL PROCEDURE 26(a)(3) DISCLOSURES                                                      3
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   11. Howbro Buffalo Wild Wings Transactions by                       X
       Account as of June 25, 2017
   12. Howbro Investments, Ltd. Wage Hour Repayment                    X
       Reconciliation May 1, 2015 through June 25, 2017
   13. Lubbock Wild Wings, Ltd Overtime Due on Tipped                  X
       Employees May 1, 2015 through June 25, 2017
   14. Lubbock Wild Wings, Ltd. Payroll Summary May                    X
       25, 2015 through May 25, 2017
   15. Lubbock Wild Wings, Ltd. Transactions by Account                X
       as of June 25, 2017
   16. Lubbock Wild Wings, Ltd. Wage Hour Repayment                    X
       Reconciliation May 1, 2015 through June 25, 2017
   17. Wolfforth Wings, Ltd Overtime Due on Tipped Date                X
       of Inception through June 25, 2017
   18. Wolfforth Wings, Ltd. Payroll Summary October                   X
       10, 2015 through May 25, 2017
   19. Wolfforth Wings, Ltd. Transactions by Account as                X
       of June 25, 2017
   20. Wolfforth Wings, Ltd. Wage Hour Repayment                       X
       Reconciliation Date of Inception through June 25,
       2017
   21. Midland Wings, Ltd Overtime Due on Tipped May                   X
       1, 2015 through June 25, 2017
   22. Midland Wings, Ltd. Payroll Summary May 25,                     X
       2015 through May 10, 2017
   23. Midland Wings, Ltd. Transactions by Account as of               X
       June 25, 2017
   24. Midland, Ltd. Wage Hour Repayment                               X
       Reconciliation May 1, 2015 through June 25, 2017
   25. Odessa Wings, Ltd Overtime Due on Tipped May 1,                 X
       2015 through June 25, 2017
   26. Odessa Wings, Ltd. Payroll Summary June 1, 2015                 X
       through May 15, 2017
   27. Odessa Wings, Ltd. Transactions by Account as of                X
       July 1, 2017
   28. Odessa Wings, Ltd. Wage Hour Repayment                          X
       Reconciliation May 1, 2015 through June 25, 2017
   29. Brittaney Bailey Pay Stubs 2/16/17 through 2/28/17              X
   30. Ex. 1 to Deposition of Misty Meeker-Notice of                   X
       Intention to Take Oral Deposition of Designated
       Corporate Respresentative(s) of Howbro
       Investments, Ltd d/b/a Buffalo Wild Wings et al.
   31. Ex. 2 to Deposition of Misty Meeker-Personnel File              X
       of Brittaney Bailey from Buffalo Wild Wings
   32. Ex. 3 to Deposition of Misty Meeker-Photos of                   X
       Employee Rights and Laws on wall at restaurants
   33. Ex. 4 to Deposition of Misty Meeker-Buffalo Wild                X
       Wings International, Inc. Employee Orientation
       Handbook 2013
   34. Ex. 5 to Deposition of Misty Meeker-Buffalo Wild                X

PLAINTIFF’S FEDERAL RULE OF CIVIL PROCEDURE 26(a)(3) DISCLOSURES                     4
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          Wings International, Inc. Employee Orientation
          Handbook 2014
   35.    Ex. 6 to Deposition of Misty Meeker-Buffalo Wild                   X
          Wings International, Inc. Employee Orientation
          Handbook 2015
   36.    Ex. 7 to Deposition of Misty Meeker-Buffalo Wild                   X
          Wings International, Inc. Employee Orientation
          Handbook 2017
   37.    Ex. 8 to Deposition of Misty Meeker-Example of                     X
          Tip Calculation Sheet
   38.    Ex. 9 to Deposition of Misty Meeker-East Amarillo                  X
          Wings, Ltd Payroll Summary for Brittaney Bailey
          May 2014 through May 2017
   39.    Ex. 10 to Deposition of Misty Meeker-East Amarillo                 X
          Wings, Ltd Brittaney Bailey Labor Spreadsheet
          11/01/2016 through 3/31/2017
   40.    Ex. 11 to Deposition of Misty Meeker-Brittaney                     X
          Bailey 2016 W-2
   41.    Ex. 12 to Deposition of Misty Meeker-Brittaney                     X
          Bailey Server Sales Report 11/01/2016 through
          3/30/2017
   42.    Ex. 13 to Deposition of Misty Meeker-Brittaney                     X
          Bailey Labor Report 11/01/2016 through 3/31/2017
   43.    Ex. 14 to Deposition of Misty Meeker-Amarillo                      X
          Wild Wings, Ltd. Payroll Summary May 25, 2015
          through May 25, 2017
   44.    Exhibit 15 to Deposition of Misty Meeker-East                      X
          Amarillo Wings, Ltd. Wage Hour Repayment
          Reconciliation May 1, 2005 through June 25, 2017
   45.    Exhibit 16 to Deposition of Misty Meeker-East                      X
          Amarillo Wings, Ltd. Transactions by Account as of
          June 25, 2017
   46.    Exhibit 17 to Deposition of Misty Meeker-Buffalo                   X
          Wild Wings Transactions by Account as of June 25,
          2017
   47.    Exhibit 18 to Deposition of Misty Meeker-Wolfforth                 X
          Wings Payroll Summary October 10, 2015 through
          May 25, 2017



         Plaintiff has discovery requests outstanding at the time these disclosures are

made. Plaintiff reserves the right to supplement these disclosures upon receipt of

additional discovery materials.




PLAINTIFF’S FEDERAL RULE OF CIVIL PROCEDURE 26(a)(3) DISCLOSURES                          5
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                                                   Respectfully submitted,

                                                   By: /s/ Jeremi K. Young
                                                   Jeremi K. Young
                                                   State Bar No. 24013793
                                                   Collin Wynne
                                                   State Bar No. 24068815
                                                   YOUNG & NEWSOM, PC
                                                   1001 S. Harrison, Suite 200
                                                   Amarillo, Texas 79101
                                                   (806) 331-1800
                                                   (806) 398-9095 (fax)
                                                    jyoung@youngfirm.com
                                                   collin@youngfirm.com

                                                   ATTORNEYS FOR PLAINTIFF



                               CERTIFICATE OF SERVICE

        I hereby certify that on the 9th day of February, 2018, the foregoing document was
electronically transmitted to the Clerk of the Court for filing via the Court’s ECF System, and
service of Notice of Electronic Filing was made to the ECF registrants shown below:


Robert Nebb: rnebb@carperlaw.com

                                                   By: /s/ Jeremi K. Young_________
                                                           Jeremi K. Young




PLAINTIFF’S FEDERAL RULE OF CIVIL PROCEDURE 26(a)(3) DISCLOSURES                                  6
